
PER CURIAM:*
The Federal Public Defender appointed to represent Jorge Flores-Villalobos has moved for leave to withdraw and has filed a brief in accordance with Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), and United States v. Flores, 632 F.3d 229 (5th Cir. 2011). Flores-Villalobos has not filed a response. We have reviewed counsel’s brief and the relevant portions of the record reflected therein. We concur with .counsel’s assessment that the appeal presents no nonfrivo-lous issue for appellate review. Accordingly, counsel’s motion for leave to withdraw is GRANTED, counsel is excused from further responsibilities herein, and the APPEAL IS DISMISSED. See 5th Cir. R. 42.2.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under *625the limited circumstances set forth in 5th Cir. R. 47.5.4.

